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                                                   United States District Court
                                                               Southern District of Florida
                                                                  WEST PALM BEACH DIVISION

  UNITED STATES OF AMERICA                                                   JUDGMENT IN A CRIMINAL CASE

  v.                                                                         Case Number - 9:10-80149-CR-MARRA-11

  MATTHEW SISS
                                                                             USM Number: 97201-004

                                                                             Counsel For Defendant: Marc Shiner, Esq.
                                                                             Counsel For The United States: Paul F. Schwartz, AUSA
                                                                             Court Reporter: Robin Dispenzieri
  ___________________________________



  The defendant pleaded guilty to Count One of the Superseding Indictment on October 6, 2011. The defendant is
  adjudicated guilty of the following offense:

         TITLE/SECTION                                        NATURE OF
            NUMBER                                             OFFENSE           OFFENSE ENDED                               COUNT
    18 U.S.C. § 1962(d)                            Racketeering conspiracy              April 2010                               One

  The defendant is sentenced as provided in the following pages of this judgment. The sentence is imposed pursuant
  to the Sentencing Reform Act of 1984.

  It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change
  of name, residence, or mailing address until all fines, restitution, costs and special assessments imposed by this
  judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney
  of any material changes in economic circumstances.

                                                                                       Date of Imposition of Sentence:
                                                                                       12/16/11



                                                                                       ________________________________
                                                                                       KENNETH A. MARRA
                                                                                       United States District Judge

                                                                                       December 16, 2011
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  DEFENDANT: MATTHEW SISS
  CASE NUMBER: 9:10-80149-CR-MARRA-11

                                                              IMPRISONMENT

           The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned
  for a term of Nine (9) months.

  The Court makes the following recommendations to the Bureau of Prisons:

               The defendant be designated to an institution in Pensacola, Florida and that he enter the Bureau of
               Prisons 500 Hour Drug Treatment Program.

  The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons on or
  before 2:00 P.M. on February 17, 2012 or as notified by the United States Marshal.




                                                                RETURN

  I have executed this judgment as follows:




  Defendant delivered on ____________________ to _________________________________

   at _____________________________________________, with a certified copy of this judgment.


                                                                               __________________________________
                                                                                    UNITED STATES MARSHAL


                                                                           By:__________________________________
                                                                                       Deputy U.S. Marshal
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  DEFENDANT: MATTHEW SISS
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                                                              SUPERVISED RELEASE

  Upon release from imprisonment, the defendant shall be on supervised release for a term of Two (2) years.

  The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from
  the custody of the Bureau of Prisons.

  The defendant shall not commit another federal, state or local crime.

  The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a
  controlled substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two
  periodic drug tests thereafter, as determined by the court.

               The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.

               The defendant shall cooperate in the collection of DNA as directed by the probation officer.


           If this judgment imposes a fine or a restitution, it is a condition of supervised release that the defendant pay in accordance
  with the Schedule of Payments sheet of this judgment.

           The defendant must comply with the standard conditions that have been adopted by this court as well as any additional
  conditions on the attached page.

                                                 STANDARD CONDITIONS OF SUPERVISION

  1.           The defendant shall not leave the judicial district without the permission of the court or probation officer;
  2.           The defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3.           The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4.           The defendant shall support his or her dependents and meet other family responsibilities;
  5.           The defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other acceptable
               reasons;
  6.           The defendant shall notify the probation officer at least ten (10) days prior to any change in residence or employment;
  7.           The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
               substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8.           The defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9.           The defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony,
               unless granted permission to do so by the probation officer;
  10.          The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
               contraband observed in plain view by the probation officer;
  11.          The defendant shall notify the probation officer within seventy-two (72) hours of being arrested or questioned by a law enforcement officer;
  12.          The defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission
               of the court; and
  13.          As directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal record
               or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the defendant’s
               compliance with such notification requirement.
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                                                    SPECIAL CONDITIONS OF SUPERVISION

               The defendant shall also comply with the following additional conditions of supervised release:

  Permissible Search - The defendant shall submit to a search of his/her person or property conducted in a reasonable
  manner and at a reasonable time by the U.S. Probation Officer.

  Substance Abuse Treatment - The defendant shall participate in an approved treatment program for drug and/or
  alcohol abuse and abide by all supplemental conditions of treatment. Participation may include inpatient/outpatient
  treatment. The defendant will contribute to the costs of services rendered (co-payment) based on ability to pay or
  availability of third party payment.
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                                                         CRIMINAL MONETARY PENALTIES


         The defendant must pay the total criminal monetary penalties under the schedule of payments on the Schedule of
  Payments sheet.


                   Total Assessment                                    Total Fine                                     Total Restitution

                           $100.00                                           $                                                  $




  *Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18, United States Code, for offenses committed on
  or after September 13, 1994, but before April 23, 1996.
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                                                              SCHEDULE OF PAYMENTS

  Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties are due as follows:

                A. Lump sum payment of $100.00 due immediately.


  Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties
  is due during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
  Inmate Financial Responsibility Program, are made to the clerk of the court.

  The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

  The assessment/fine/restitution is payable to the CLERK, UNITED STATES COURTS and is to be addressed to:

                U.S. CLERK’S OFFICE
                ATTN: FINANCIAL SECTION
                400 NORTH M IAM I AVENUE, ROOM 8N09
                M IAM I, FLORIDA 33128-7716

  The assessment/fine/restitution is payable immediately. The U.S. Bureau of Prisons, U.S. Probation Office and the U.S.
  Attorney’s Office are responsible for the enforcement of this order.

  Forfeiture of the defendant’s right, title and interest in certain property is hereby ordered consistent with the plea
  agreement.

  Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
  (5) fine interest, (6) community restitution,(7) penalties, and (8) costs, including cost of prosecution and court costs.
